
11 Mich. App. 498 (1968)
161 N.W.2d 442
CITY OF PORTAGE
v.
TIMMERMAN.
SAME
v.
WENKE.
Docket Nos. 3,842, 3,843.
Michigan Court of Appeals.
Decided May 28, 1968.
*499 John T. Peters, City Attorney, and Michael C. Gergely, Assistant City Attorney, for the City of Portage.
Bauckham &amp; Reed, for defendant Timmerman.
Ford, Kriekard, Brown &amp; Staton, for defendant Wenke.
PER CURIAM:
Defendants were convicted for violating an ordinance of the city of Portage and were sentenced therefor. They appealed to the circuit court for the county of Kalamazoo where their motions to dismiss were granted for a reason not pertinent to present decision. The city appealed to this Court as of right and defendants moved to dismiss the appeal because the city had no appeal of right. By orders dated October 27, 1967, defendants' motions to dismiss were continued until hearing on the merits. Such hearing has been had.
Although Const 1963, art 1, § 20, removes the accused from the restrictions of CL 1948, § 770.3 (Stat Ann 1954 Rev § 28.1100) and grants a right of appeal, appeals by the city still require leave and are restricted by the provisions of CL 1948, § 770.12 (Stat Ann 1954 Rev § 28.1109). The city has no right of appeal and defendants' motions to dismiss these appeals are granted.
This disposition obviates discussion of the other questions raised.
BURNS, P.J., and QUINN and ZIEM, JJ., concurred.
